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                             UNITED STATES DISTRICT COURT                                     3/8/21
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 UNITED STATES OF AMERICA,                                        3:21-cr-20
                                                        CASE NO. _________________
                Plaintiff,                                        Michael Merz
                                                        JUDGE ____________________
        vs.
                                                        INFORMATION
 SCOTTIE W. DAVIS,
                                                        18 U. S. C. § 641
                Defendant.
                                                        (MISDEMEANOR)


THE UNITED STATES ATTORNEY CHARGES:


                                            COUNT 1

       From in or about January 2016, and continuing through in or about December 2019, in

the Southern District of Ohio, the defendant, SCOTTIE W. DAVIS, did knowingly and

willfully embezzle, steal, purloin, and convert to his own use and the use of another, on a

recurring basis, money belonging to the United States and a department and agency thereof,

namely, Social Security benefits.

       In violation of 18 U.S.C. § 641.

                                             VIPAL J. PATEL
                                             ACTING UNITED STATES ATTORNEY



                                             _________________________________
                                             TIMOTHY LANDRY (MA 669554)
                                             SPECIAL ASSISTANT U.S. ATTORNEY
